                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

    ANTONIO DEQUAN KING                               )
    and ANTONIO HURT,                                 )
                                                      )
           Plaintiffs,                                )    No. 3:22-cv-00573
                                                      )
    v.                                                )    JUDGE RICHARDSON
                                                      )
    JOHN DRAKE, et al.,                               )
                                                      )
           Defendants.                                )

                                               ORDER

          This action seeks redress from several Defendants in connection with the death of Antonio

Dequan King after he engaged in a 2021 workplace shooting. (Doc. No. 1). As a threshold matter,

the Complaint names as Plaintiffs both Mr. King and his surviving father, Antonio Hurt, as

Plaintiffs. Id. It is unclear whether Mr. Hurt seeks to bring personal claims (that is, claims on behalf

of himself), claims on behalf of Mr. King’s estate, or both. To address this matter, Mr. Hurt

SHALL submit an Amended Complaint within 30 DAYS of the date this order is entered on the

docket. The Amended Complaint should: clarify whether Mr. Hurt seeks to bring personal claims,

claims on behalf of Mr. King’s estate, or both; identify the asserted legal claims; and include

factual allegations sufficient to demonstrate a plausible right to relief on those claims. Failure to

respond or request an extension by the deadline may result in dismissal.1 Fed. R. Civ. P. 41(b).

          IT IS SO ORDERED.

                                                ________________________________
                                                ELI RICHARDSON
                                                UNITED STATES DISTRICT JUDGE


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 The Court’s new address is: U.S. District Court for the Middle District of Tennessee, 719 Church Street,
Nashville, TN 37203. For more information, including resources for pro se litigants, visit the Court’s
website. See www.tnmd.uscourts.gov.



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